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                                                                              2021 Jan-15 AM 08:39
                                                                              U.S. DISTRICT COURT
                                                                                  N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION


JAMES BROUGHTON                         )
                                        )
      Plaintiff,                        )
                                        )   Civil Action Number
vs.                                     )   2:20-cv-00728-AKK
                                        )
LIFE INSURANCE COMPANY                  )
OF NORTH AMERICA; et al.,               )
      Defendants.                       )


                                   ORDER

       Consistent with the joint stipulation of dismissal with prejudice, doc. 14,

this action is DISMISSED WITH PREJUDICE. Costs taxed as paid.

      DONE the 15th day of January, 2021.


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                                              ABDUL K. KALLON
                                       UNITED STATES DISTRICT JUDGE
